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 LOWENSTEIN SANDLER LLP
 Kenneth A. Rosen, Esq.
 Joseph J. DiPasquale, Esq.
 Eric S. Chafetz, Esq.                                                                  Order Filed on January 11, 2021
                                                                                        by Clerk,
 Michael Papandrea, Esq.                                                                U.S. Bankruptcy Court
 John P. Schneider, Esq.                                                                District of New Jersey
 One Lowenstein Drive
 Roseland, New Jersey 07068
 (973) 597-2500 (Telephone)
 (973) 597-2400 (Facsimile)

 Counsel to the Administrative and
 Priority Claims Agent

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


     In re:                                                         Chapter 11

     FRANK T HEATRES BAYONNE/SOUT H                                 Case No. 18-34808 (SLM)
     COVE, LLC, et al.,1, 2

                                Debtors.                            Jointly Administered


               STIPULATION AND CONSENT ORDER RESOLVING CLAIM NO. 57
                       FILED BY COTTON COMMERCIAL USA, INC.

              T he relief set forth on the following pages, numbered two (2) through six (6), is hereby

 ORDERED.
      DATED: January 11, 2021


 1
    Prior to the Effective Date (as defined herein) of the Modified Plan (as defined herein), the Debtors in these Chapter 11 cases
 (the “ Chapter 11 Cases”) and the last four digits of each Debtor’s taxpayer identification number were as follows: Frank T heatres
 Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank Management LLC (0186); Frank Theatres,
 LLC (5542); Frank All Star T heatres, LLC (0420); Frank T heatres Blacksburg LLC (2964); Frank T heatres Delray, LLC (7655);
 Frank T heatres Kingsport LLC (5083); Frank T heatres Montgomeryville, LLC (0692); Frank T heatres Parkside T own Commons
 LLC (9724); Frank T heatres Rio, LLC (1591); Frank T heatres T owne, LLC (1528); Frank T he atres York, LLC (7779); Frank
 T heatres Mt. Airy, LLC (7429); Frank T heatres Southern Pines, LLC (2508); Frank T heatres Sanford, LLC (7475); Frank T heatres
 Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank Entertainment
 Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC (8570); Frank Hospitality
 York LLC (6617); and Galleria Cinema, LLC (2529).

 2
  Upon the Effective Date of the Modified Plan, the presently operating Reorganized Debtors are as follows: Frank Entertainment
 Group, LLC; Frank Management, LLC; Frank T heatres York, LLC; Frank Hospitality York, LLC; Frank T heatres Delray, LLC;
 Frank T heatres Parkside T own Commons, LLC; Frank Blacksburg, LLC; Frank T heatres Southern Pines, LLC; Frank T heatres,
 LLC; and Frank Management, LLC.
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 Caption: Stipulation and Consent Order Resolving Claim No. 57 Filed by Cotton Commercial USA, Inc.

         T HIS MAT TER comes before the United States Bankruptcy Court for the District of New

 Jersey (the “ Court”) upon the objection of Moss Adams LLP (the “ Administrative and Priority

 Claims Agent”) to proof of claim no. 57 filed by Cotton Commercial USA, Inc. (“ Cotton,” and

 together with the Administrative and Priority Claims Agent, the “ Parties”); and the Court having

 jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334; and venue being proper

 before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and consideration of this matter being

 a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that proper and adequate notice

 of the dispute has been given and that no other or further notice is necessary; and upon the record

 herein and the agreement of the Administrative and Priority Claims Agent and Cotton, the Court

 having determined that the relief provided for herein is in the best interests of the Debtors, their

 estates, and creditors; and after due deliberation and good and sufficient cause appearing therefor;3

         IT IS HEREBY ORDERED THAT:

         1.       Subject to the provisions of paragraphs #4 and #5 of this Stipulation and Consent

 Order, proof of claim No. 57 filed by Cotton is hereby reclassified as a General Unsecured Claim

 against the estate of Frank Management, LLC in the amount of $1,070,043.85 (the “Claim”),

 subject to Cotton’s rights, if any, under paragraph #3 of this Stipulation and Consent Order.

         2.       As provided under Article (VI)(F)(1) of the Modified Plan, the Claim shall be

 reduced in full, and the Claim shall be disallowed without an objection to such Claim having to be

 filed and without any further notice to or action, order, or approval of the Court, to the extent that

 Cotton receives payment in full of its Claim from a party that is not any of the Debtors,



 3
  Unless otherwise defined, all capitalized terms shall have the meaning ascribed to them in the Modified First
 Amended Plan of Reorganization of Frank Theatres Bayonne/South Cove, LLC, et al., Pursuant to Chapter 11 of the
 Bankruptcy Code as confirmed by an Order of the Court entered on October 29, 2019 (the “Modified Plan”) [Docket
 No. 783].
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 Reorganized Debtors, Administrative and Priority Claims Agent, or the Liquidating T rust, as

 applicable.4 T o the extent Cotton receives a Distribution on account of its Claim and receives

 payment from a party that is not any of the Debtors, Reorganized Debtors, Administrative and

 Priority Claims Agent, or the Liquidating T rust on account of such Claim, Cotton shall repay,

 return, or deliver any Distribution held by or transferred to Cotton to the Liquidating T rust or

 Administrative and Priority Claims Agent to the extent Cotton’s total recovery on account of such

 Claim from the third party and under the Modified Plan exceeds the amount of such Claim as of

 the date of any such Distribution under the Modified Plan.

          3.       Cotton expressly reserves all rights and claims as it relates to the $948,736.35 in

 insurance proceeds that is the subject of ST ORE Capital Acquisitions, LLC’s Motion for Entry of

 Order Directing Release of Non-Estate Property [Docket No. 889]. T his includes, without

 limitation, those claims alleged and asserted by Cotton in that action pending in Brunswick

 County, North Carolina Civil Superior Court, File No. 20-CVS-301, and all legal and equitable

 remedies.

          4.       T he Liquidating T rustee and Liquidating T rust’s right to object to the validit y,

 extent, and/or amount of the Claim are expressly preserved.

          5.       Cotton’s right to assert and/or defend the validity, extent, amount, or basis for the

 Claim, including the assertion of claims or causes of action that may arise from any of the

 Liquidating T rustee and Liquidating T rust’s objections to the validity, extent, and/or amount of

 the Claim are expressly preserved.




 4
  If there is any discrepancy between the terms of the Modified Plan and the terms of this paragraph of this Stipulation
 and Consent Order, the terms of the Modified Plan shall govern.
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          6.     T he Administrative and Priority Claims Agent, the Debtors, the Debtors’ claims

 and noticing agent, the Liquidating T rustee, and the Clerk of this Court are each authorized to take

 any and all actions that are necessary or appropriate to give effect to this Stipulation and Consent

 Order.

          7.     T he terms set forth in this Stipulation and Consent Order are the entire agreement

 between the Parties and may only be modified in a writing signed by the Parties.

          8.     T HE PART IES EXPRESSLY WAIVE ANY RIGHT T O A T RIAL BY JURY OF

 ANY DISPUT E ARISING UNDER, OR RELAT ING T O, THE SETTLEMENT SET FORTH IN

 T HIS ST IPULAT ION AND CONSENT ORDER.

          9.     Each of the Parties hereto consents to the jurisdiction of the Court to adjudicate any

 and all disputes arising under or relating to this Stipulation and Consent Order.

          10.    T he terms of this Stipulation and Consent Order shall be governed by, and

 construed and interpreted with, the laws of the State of New Jersey without regard to any conflict

 of law provisions.

          11.    T his Stipulation and Consent Order shall be binding upon the Parties hereto and

 any of their successors, representatives, and/or assigns.

          12.    T his Stipulation and Consent Order may be executed in counterparts and all

 executed counterparts taken together shall constitute one document.

          13.    T he Liquidating T rustee has reviewed the terms and form of this Stipulation and

 Consent Order and does not object to the entry thereof.

          14.    T his Stipulation and Consent Order has been drafted through a joint effort of the

 Parties and, therefore, shall not be construed in favor of or against any of the Parties. T he terms
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 of this Stipulation and Consent Order shall be deemed to have been jointly negotiated and drafted

 by the Parties.

         15.       Notwithstanding the applicability of any of the Federal Rules of Bankruptcy

 Procedure, the terms and conditions of this Stipulation and Consent Order shall be immediately

 effective and enforceable upon its entry.

         16.       T he Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation of this Stipulation and Consent Order.



 Dated: April 14, 2020

 STIPULATED AND AGREED:

  LOWENSTEIN SANDLER LLP                                WOMBLE BOND DICKINSON (US) LLP


  By: /s/ Eric Chafetz                                  By: /s/Richard Prosser
  Kenneth A. Rosen, Esq.                                Richard A. Prosser, Esq.
  Joseph DiPasquale, Esq.                               Ericka F. Johnson, Esq.
  Eric S. Chafetz, Esq.                                 1313 North Market Street
  Michael Papandrea, Esq.                               Suite 1200
  John P. Schneider, Esq.                               T elephone: (919) 755-2189
  One Lowenstein Drive                                  E-mail: richard.prosser@wbd-us.com
  Roseland, New Jersey 07068                                     ericka.johnson@wbd-us.com
  T elephone: (973) 597-2500
  Facsimile: (973) 597-2400                             Counsel to Cotton Commercial USA, Inc.
  E-mail: echafetz@lowenstein.com

  Counsel for the Debtors and
  Debtors-in-Possession
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  AS TO THE TERMS AND FORM
  OF STIPULATION AND CONSENT
  ORDER:

  PACHULSKI STANG ZIEHL
  & JONES LLP


  By: /s/ Beth Levine
  Bradford J. Sandler, Esq.
  Beth Levine, Esq.
  Shirley S. Cho, Esq.
  780 T hird Avenue, 34th Floor
  New York, NY 10017
  T elephone: (212) 561-7700
  Facsimile: (212) 561-7777
  E-mail: bsandler@pszjlaw.com
           blevine@pszjlaw.com
           scho@pszjlaw.com

  Co-Counsel to the Liquidating Trust

   -and-

  RIKER, DANZIG, SCHERER, HYLAND
  & PERRETTI LLP


  Joseph L. Schwartz, Esq.
  T ara J. Schellhorn, Esq.
  Headquarters Plaza, One Speedwell Avenue
  Morristown, NJ 07962
  T elephone: (973) 583-0800
  Facsimile: (973) 583-1984
  E-mail: jschwartz@riker.com
            tschellhorn@riker.com

  Co-Counsel to the Liquidating Trust
